Case 2:87-cr-80933-GER-SDP ECF No. 1555, PageID.1027 Filed 07/12/11 Page 1 of 10




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,                         Case No. 87-CR-80933-11

 v.                                               Hon. Gerald E. Rosen

 MARSHALL GLENN,

            Defendant.
 _________________________________/

                    OPINION AND ORDER DENYING
            DEFENDANT’S MOTION FOR REDUCTION IN SENTENCE

                               At a session of said Court, held in
                            the U.S. Courthouse, Detroit, Michigan
                            on             July 12, 2011

                            PRESENT: Honorable Gerald E. Rosen
                                     Chief Judge, United States District Court

        By pro se motion, as supplemented by a pair of memoranda filed by court-

 appointed counsel, Defendant Marshall Glenn seeks a reduction in his sentence pursuant

 to 18 U.S.C. § 3582(c)(2), citing the recent amendments to the United States Sentencing

 Guidelines pertaining to crack cocaine offenses. At a hearing on this motion held in

 October of 2009, defense counsel was directed to review the transcripts of Defendant’s

 1988 trial before then-District Judge Richard F. Suhrheinrich, in order to identify the

 testimony relevant to ascertaining the precise nature and extent of Defendant’s
Case 2:87-cr-80933-GER-SDP ECF No. 1555, PageID.1028 Filed 07/12/11 Page 2 of 10




 involvement in the large-scale Chambers Brothers drug conspiracy.1

        Upon completing this review, defense counsel has filed a February 22, 2010

 supplemental memorandum in further support of Defendant’s motion, arguing that a

 sentence reduction is warranted in light of Defendant’s purportedly limited involvement

 in the conspiracy. As discussed below, the Court finds that Defendant has established his

 threshold eligibility for relief under 18 U.S.C. § 3582(c). Nonetheless, the Court

 concludes, in its discretion and upon consideration of the pertinent factors, that a

 reduction in Defendant’s sentence is not warranted.

                                       I. BACKGROUND

        In a 1988 trial, Defendant was convicted of conspiracy to possess with intent to

 distribute cocaine, cocaine base, and marijuana, but the Government voluntarily

 dismissed a second charge of possession with intent to distribute cocaine. In March of

 1989, Judge Suhrheinrich sentenced Defendant to a 360-month term of imprisonment.

 This sentence fell near the high end of a Sentencing Guidelines range of 292 to 365

 months, which was derived from a base offense level of 36, a three-level upward

 adjustment for Defendant’s supervisory role in the charged conspiracy offense, and a

        1
          Judge Suhrheinrich now sits on the Sixth Circuit Court of Appeals, and the undersigned
 District Judge has presided over this case for the past 20 years, a time span that has encompassed
 several resentencing proceedings, countless post-judgment motions brought by many of the
 defendants seeking relief from their convictions and/or sentences, and the trial of one defendant,
 William Jackson. It is fair to say, then, that this Court is quite familiar with the overall nature
 and scope of the activities carried out by the Chambers Brothers drug organization, which the
 Court has elsewhere described as “among the very biggest drug rings this district has seen.”
 United States v. Chambers, No. 87-80933, 2009 WL 1620423, at *1 (E.D. Mich. June 9, 2009)
 (internal quotation marks and citation omitted).

                                                  2
Case 2:87-cr-80933-GER-SDP ECF No. 1555, PageID.1029 Filed 07/12/11 Page 3 of 10




 criminal history category of II. The base offense level of 36, in turn, was based on drug

 quantities of (i) cocaine base in excess of one kilogram, and (ii) powder cocaine in excess

 of five kilograms.

        These drug quantities are cited at two points in Defendant’s presentence report as

 purchased and/or distributed by the Chambers Brothers organization during the course of

 the charged conspiracy. (See 12/14/1988 Presentence Report at ¶¶ 13, 48.) Apart from

 these two brief references, however, the presentence report does not identify any specific

 activities engaged in by Defendant that involved any particular quantities of cocaine or

 cocaine base. In addition, while Defendant’s trial counsel argued at sentencing that the

 presentence report overstated the level of Defendant’s involvement in the charged

 conspiracy, Judge Suhrheinrich made no specific finding that it was appropriate to hold

 Defendant responsible for the totality of the drug quantities distributed by the Chambers

 Brothers organization, but instead concluded more generally that the Sentencing

 Guidelines calculation in the presentence report was “correct.” (3/24/1989 Sentencing

 Hearing Tr. at 5.)2 Based on the findings at sentencing, Defendant was sentenced to 360-

 month term of imprisonment, and he now seeks a reduction in this sentence as based on a

 sentencing range that has subsequently been lowered by the recent amendments to the



        2
         Defendant’s trial counsel also challenged the three-level adjustment for Defendant’s
 supervisory role, but Judge Suhrheinrich found that this adjustment was appropriate, in light of
 the evidence at trial that Defendant had recruited at least one individual to travel from Marianna,
 Arkansas to Michigan and join the Chambers Brothers organization, and that he was “involved
 in supervising” one of the crack houses operated by the organization. (Id.)

                                                  3
Case 2:87-cr-80933-GER-SDP ECF No. 1555, PageID.1030 Filed 07/12/11 Page 4 of 10




 Sentencing Guidelines governing crack cocaine offenses.

                                         II. ANALYSIS

        In support of the present motion, Defendant and his court-appointed counsel argue

 that he is entitled to the sentence reduction that would result from applying the recent

 crack cocaine amendments to the lower bound of the drug quantity ranges set forth in

 Defendant’s presentence report and relied upon by Judge Suhrheinrich in determining his

 sentence. As noted above, these quantities — i.e., amounts in excess of one kilogram of

 crack cocaine and five kilograms of powder cocaine — yielded a base offense level of

 36. If this base offense level were reduced by two (as called for under the recent

 amendments to the Sentencing Guidelines for crack cocaine offenses) and then increased

 by three (in light of Defendant’s supervisory role in the drug conspiracy, as found by

 Judge Suhrheinrich), the resulting Sentencing Guideline range would be 235 to 293

 months, and even the higher end of this range is considerably lower than Defendant’s

 current 360-month sentence.3

        Yet, in determining Defendant’s eligibility for a sentencing reduction under 18

 U.S.C. § 3582(c), the Court is not necessarily constrained to use the lower bound of the

 “in excess of” drug quantity figures set forth in Defendant’s presentence report. At the

 time of Defendant’s sentencing, a quantity of cocaine base in excess of 500 grams was



        3
         By defense counsel’s calculation, Defendant has served roughly 280 months of this
 sentence, and thus would be eligible for release fairly soon even if the Court resentenced him at
 the upper end of the revised 235-to-293-month sentencing range.

                                                 4
Case 2:87-cr-80933-GER-SDP ECF No. 1555, PageID.1031 Filed 07/12/11 Page 5 of 10




 sufficient to trigger the maximum base offense level of 36, so there was no need for

 Judge Suhrheinrich to determine whether Defendant was responsible for a drug quantity

 exceeding the one kilogram of cocaine base cited in the presentence report. See United

 States v. Jackson, No. 87-80933, 2009 WL 1856565, at *1 (E.D. Mich. June 25, 2009)

 (noting the varying quantities of cocaine base that have triggered base offense levels of

 36 or more over the years since 1988). Nonetheless, as this Court has observed in ruling

 on the motions for sentence reductions brought by other co-defendants in the Chambers

 Brothers case, there certainly was an evidentiary basis for concluding that at least some

 of these individuals were responsible for far greater drug quantities that would continue

 to trigger the highest base offense level (38) under the current Sentencing Guidelines.

 See, e.g., United States v. Gant, No. 87-80933, 2010 WL 4643083, at *2 n.1 (E.D. Mich.

 Nov. 9, 2010) (noting the basis for charging defendant Gant with responsibility for up to

 15 kilograms of crack cocaine); Jackson, 2009 WL 1856565, at *1 (citing the finding in

 defendant Jackson’s presentence report that his offense involved 5 kilograms of cocaine

 base). Thus, it is not inevitable that Defendant’s entitlement to relief must be determined

 by reference to the lower-bound figures set forth in his presentence report — i.e., one

 kilogram of crack cocaine and five kilograms of powder cocaine — so long as there is an

 evidentiary basis upon which Judge Suhrheinrich could have concluded that Defendant

 was responsible for greater quantities of cocaine and cocaine base. See United States v.

 Moore, 582 F.3d 641, 645-46 & n.2 (6th Cir. 2009) (holding that the decision whether to



                                              5
Case 2:87-cr-80933-GER-SDP ECF No. 1555, PageID.1032 Filed 07/12/11 Page 6 of 10




 order a sentence reduction under § 3582(c)(2) must be “based on the information that was

 available at the time of sentencing”).

        Upon review of the trial transcripts, however, Defendant and his counsel argue

 that there is no such evidentiary basis for holding Defendant responsible for the greater

 quantities of drugs trafficked by the Chambers Brothers organization during the entire

 time frame of the conspiracy. First and foremost, while the charged conspiracy spanned

 from 1983 to February of 1988, Defendant views the evidence at trial as establishing that

 he did not join the conspiracy until 1987. In addition, while one witness at trial, Terry

 Colbert, testified that he observed Defendant at one of the Chambers Brothers crack

 houses on a regular basis, and that he saw Defendant drop off drugs or pick up money at

 another of the houses on more than one occasion, Colbert later recanted his trial

 testimony at a hearing on several of the defendants’ motion for a new trial, claiming that

 Defendant played a far more limited role. Finally, Defendant states that the testimony at

 trial established that he brought only one individual, James McKinney, up from Arkansas

 to participate in the Chambers Brothers drug trafficking operation, and that McKinney

 identified other individuals, and not Defendant, as responsible for dropping off drugs and

 picking up money from the crack house where McKinney worked.

        Based on this record, Defendant argues that the drug quantities in the presentence

 report overstate, rather than understate, the extent of his involvement in the charged drug

 trafficking conspiracy. Defendant further asserts that because his role in bringing at least



                                              6
Case 2:87-cr-80933-GER-SDP ECF No. 1555, PageID.1033 Filed 07/12/11 Page 7 of 10




 one other individual into the conspiracy is already accounted for in the three-level

 enhancement for his supervisory role, this consideration should play no part in the

 Court’s decision whether to reduce his sentence. Accordingly, Defendant contends that

 he is eligible for a sentence reduction under § 3582(c), and he urges the Court to impose

 a sentence within the reduced range of 235 to 293 months that results from the

 application of the crack cocaine amendments to the Sentencing Guidelines.4

        The Government has not filed a response to Defendant’s supplemental submission

 following defense counsel’s review of the trial record. Nonetheless, in its earlier

 response to Defendant’s initial motion, and in its argument at the October 2009 hearing

 on this motion, the Government has identified two grounds for denying sentencing relief

 under § 3582(c). First, the Government points to the unprecedented size and scope of the

 Chambers Brothers drug trafficking enterprise, a factor this Court has cited in denying §

 3582(c) motions brought by other defendants in this case. See, e.g., Jackson, 2009 WL




        4
           By way of comparison, Defendant notes that other “lieutenants” in the Chambers
 Brothers organization, such as Otis Chambers, Jerry Lee Gant, and William Jackson, received
 sentences equal to or less than Defendant’s current 360-month sentence. In Defendant’s view,
 the trial record shows that he joined the conspiracy later and played a lesser role than these co-
 defendants. In addition, co-defendant Billy Joe Chambers, for whom Defendant allegedly
 worked in the Chambers Brothers organization, received a 325-month sentence. While this
 discrepancy is largely due to unique factors — Billy Joe Chambers received the benefit of
 resentencing under a more favorable version of the Sentencing Guidelines that was in effect
 when his drug conspiracy offense was vacated on double jeopardy grounds and he was
 resentenced only for a continuing criminal enterprise offense — Defendant nonetheless contends
 that this comparison with a more culpable co-defendant supports an award of sentencing relief.

                                                 7
Case 2:87-cr-80933-GER-SDP ECF No. 1555, PageID.1034 Filed 07/12/11 Page 8 of 10




 1856565, at *1.5 Next, the Government notes that Defendant “has accumulated an

 extensive list of citations for misconduct” while in custody, (see Gov’t Response at ¶ 6),6

 and this is a factor the Court may consider in exercising its discretion to grant or deny a

 sentence reduction. See, e.g., United States v. Monday, No. 08-2554, 390 F. App’x 550,

 554-55 (6th Cir. Aug. 10, 2010). Thus, while the Government acknowledges that

 Defendant may be eligible for relief under § 3582(c) in light of the absence of a drug

 quantity finding by Judge Suhrheinrich that would preclude this relief, it urges the Court

 to “exercise its discretion and deny [D]efendant any sentence reduction.” (Gov’t

 Response at ¶ 5.)

        Upon considering the parties’ arguments and the record in light of the factors that

 govern the discretionary decision whether to grant sentencing relief under § 3582(c), see

 United States v. Curry, 606 F.3d 323, 330 (6th Cir. 2010), the Court declines to reduce

 Defendant’s sentence. First and foremost, the seriousness of Defendant’s offense

 militates strongly against a grant of relief. As recounted in the presentence report, and as

 Judge Suhrheinrich determined at sentencing, Defendant was a so-called “Level Two”

 participant in the Chambers Brothers drug trafficking organization who “recruited


        5
          The Court also relied in part on this consideration in denying the requests for sentencing
 relief brought by Billy Joe Chambers, Larry Chambers, Otis Chambers, and Eric Wilkins.
        6
         In response, Defendant notes that most of these incidents occurred in the early 1990s
 when he “was a young man starting the service of a 30-year sentence,” and that he has been
 incident-free since 2004, with the more recent incidents not involving violence or assaultive
 behavior but instead “involv[ing] possession and use of marijuana.” (Defendant’s Suppl. Br. at
 6.)

                                                  8
Case 2:87-cr-80933-GER-SDP ECF No. 1555, PageID.1035 Filed 07/12/11 Page 9 of 10




 youngsters from Marian[n]a, Arkansas and placed them in crack houses in Detroit,” and

 who supervised the operations at one or more crack houses along with other “trusted

 lieutenants” in the organization. (12/14/1988 Presentence Report at ¶ 22.) While

 Defendant perhaps was not involved in the conspiracy for as long as some other co-

 defendants, he was still a key participant, and not a minor role-player, in a large-scale

 drug trafficking enterprise that, even today, ranks among the biggest drug rings ever seen

 in this District. This substantial level of participation in a massive drug conspiracy

 warrants a sentence comparable to the terms of imprisonment imposed upon other

 lieutenants in the Chambers Brothers organization.7

        The Court’s denial of relief also rests in part upon Defendant’s post-sentencing

 conduct. As the Government points out, Defendant “has accumulated an extensive list of

 citations for misconduct” while in custody, (Gov’t Response at ¶ 6), some of which

 involved threats of violence, and the most recent of which involved the possession and

 use of illegal drugs. As the Government points out, this record compiled “while in prison

 on a drug trafficking conviction” is suggestive of Defendant’s “intransigence and

 unwillingness to conform to the behavior expected of him.” (Id.) The Court views this



        7
         By way of comparison, two other “Level Two” participants, William Jackson and Jerry
 Lee Gant, are also serving 360-month sentences, and the Court has denied the motions for §
 3582(c)(2) relief brought by each of these two co-defendants. The Court acknowledges
 Defendant’s point that a “Level One” participant, Billy Joe Chambers, received a lesser 325-
 month sentence, but the Court has previously explained that this was a product of a more
 favorable “continuing criminal enterprise” guideline that was in effect at the time of Defendant
 Chambers’ 1992 resentencing. See Chambers, 2009 WL 1620423, at *1 & n.2.

                                                 9
Case 2:87-cr-80933-GER-SDP ECF No. 1555, PageID.1036 Filed 07/12/11 Page 10 of 10




  record as giving rise to a real and substantial risk of danger to the community and a

  resumption of unlawful activity if Defendant’s sentence were reduced, thereby rendering

  him eligible for release in the immediate future.

         This record of prison infractions, then, provides an additional basis for denying

  relief under § 3582(c)(2). Accordingly, upon considering this and the other pertinent

  factors, the Court declines to reduce Defendant’s sentence.

                                     III. CONCLUSION

         For the reasons set forth above,

         NOW, THEREFORE, IT IS HEREBY ORDERED that Defendant’s November 17,

  2008 motion for reduction of sentence (docket #1466) is DENIED.



                           s/Gerald E. Rosen
                           Chief Judge, United States District Court

  Dated: July 12, 2011

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on July 12, 2011, by electronic and/or ordinary mail.

                           s/Ruth A. Gunther
                           Case Manager




                                               10
